Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 1 of 37




                                                                EXHIBIT 1
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 2 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 3 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 4 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 5 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 6 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 7 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 8 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 9 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 10 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 11 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 12 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 13 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 14 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 15 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 16 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 17 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 18 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 19 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 20 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 21 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 22 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 23 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 24 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 25 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 26 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 27 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 28 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 29 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 30 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 31 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 32 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 33 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 34 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 35 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 36 of 37
Case 2:21-cv-00748-ILRL-JVM Document 1-2 Filed 04/13/21 Page 37 of 37
